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                IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
_________________________________________
                                          )
In re:                                    ) Chapter 11
                                          )
SOUTHERN FOODS GROUP, LLC, et al.,        ) Case No. 19-36313
                                          )
            Debtors.1                     ) (Jointly Administered)
                                          )
_________________________________________ )

  EMERGENCY MOTION OF DEBTORS FOR ENTRY OF INTERIM AND FINAL
   ORDERS AUTHORIZING (I) DEBTORS TO PAY PREPETITION CRITICAL
   VENDOR CLAIMS AND 503(B)(9) CLAIMS IN THE ORDINARY COURSE OF
     BUSINESS, (II) DEBTORS TO RETURN GOODS, AND (III) FINANCIAL
INSTITUTIONS TO HONOR AND PROCESS RELATED CHECKS AND TRANSFERS

        EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE
        CONDUCTED ON THIS MATTER ON NOVEMBER 13 AT 2:30 PM IN COURTROOM
        400, 4TH FLOOR, 515 RUSK STREET, HOUSTON, TEXAS 77002. IF YOU OBJECT TO
        THE RELIEF REQUESTED OR YOU BELIEVE THAT EMERGENCY
        CONSIDERATION IS NOT WARRANTED, YOU MUST EITHER APPEAR AT THE
        HEARING OR FILE A WRITTEN RESPONSE PRIOR TO THE HEARING.
        OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
        GRANT THE RELIEF REQUESTED.

        RELIEF IS REQUESTED NOT LATER THAN NOVEMBER 13, 2019.




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           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
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       Southern Foods Group, LLC, Dean Foods Company, and certain of their affiliates

(collectively, the “Debtors”), each of which is a debtor and debtor in possession in the above-

captioned chapter 11 cases (the “Chapter 11 Cases”), hereby file this Emergency Motion of

Debtors for Entry of Interim and Final Orders Authorizing (i) Debtors To Pay Prepetition

Critical Vendor Claims and 503(b)(9) Claims in the Ordinary Course of Business, (ii) Debtors to

Return Goods, and (iii) Financial Institutions To Honor and Process Related Checks and

Transfers (this “Motion”). This Motion is supported by the Declaration of Gary Rahlfs in

Support     of   Debtors’   Chapter    11   Proceedings    and   First   Day   Pleadings    (the

“Rahlfs Declaration”) and the Declaration of Robert Bruce Matson in Support of Debtors’

Motion for Authorization to Pay Critical Vendors (the “Matson Declaration”), both filed

contemporaneously herewith. In further support of this Motion, the Debtors respectfully state as

follows:

                                        Relief Requested

       1.        By this Motion, and pursuant to sections 105(a), 363, 503(b), and 507(a)(2) of

title 11 of the United States Code (the “Bankruptcy Code”) and Rules 6003 and 6004 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtors seek entry of

interim and final orders (the “Proposed Orders” and, if entered, the “Orders”) (a) establishing

procedures pursuant to which the Debtors may engage in discussions with counterparties that

may qualify as Critical Vendors (as defined below) regarding the validity and amount of their

respective claims and to determine whether any such counterparties are Critical Vendors,

(b) authorizing, but not directing, the Debtors to pay, in their sole discretion, prepetition

obligations related to Critical Vendors (as defined below) and valid claims of vendors under

section 503(b)(9) of the Bankruptcy Code in the ordinary course of business, (c) authorizing the

Debtors, in their sole discretion, under section 546(h) of the Bankruptcy Code, to return Goods


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purchased from Vendors by the Debtors prior to the Petition Date for credit against such

Vendors’ prepetition claims, and (d) authorizing the Debtors’ financial institutions to receive,

process, honor, and pay checks or wire transfers used by the Debtors to pay the foregoing.

                              Jurisdiction, Venue, and Authority

         2.    The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334 and the Order of

Reference to Bankruptcy Judges, General Order 2012-6 (S.D. Tex. May 24, 2012) (Hinojosa,

C.J.).

         3.    This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). In

addition, the Debtors confirm their consent, pursuant to Bankruptcy Rule 7008 and Rule 7008-1

of the Bankruptcy Local Rules for the United States Bankruptcy Court for the Southern District

of Texas (the “Local Rules”), to the entry of a final order by the Court in connection with this

Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution. Venue of the Chapter 11 Cases and related proceedings is proper in

this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          Background

         4.    On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors have continued in

possession of their property and have continued to operate and manage their businesses as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request

has been made for the appointment of a trustee or examiner, and no official committee has been

appointed in the Chapter 11 Cases.




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         5.       Contemporaneously herewith, the Debtors have filed a motion requesting the joint

administration of the Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b) and Local Rule

1015-1.

         6.       Additional information about the Debtors’ businesses and affairs, capital structure,

and prepetition indebtedness, and the events leading up to the Petition Date, can be found in the

Rahlfs Declaration and Matson Declaration, which information is incorporated herein by

reference.

                                             The Critical Vendors

         7.       The Debtors are a leading public food and beverage company and the largest

processor and direct-to-store distributor of fresh fluid milk and other dairy and dairy case

products in the United States. The Debtors manufacture, market, and distribute a wide variety of

branded and private label dairy and dairy case products, including fluid milk, ice cream, cultured

dairy products, creamers, ice cream mix, and other dairy products to retailers, distributors,

foodservice outlets, educational institutions, and governmental entities across the United States.

         8.       In connection with the normal operation of their businesses, the Debtors purchase

or contract for, among other things, raw milk, cream, sugar, resin, packaging, other ingredient

materials, inventory, supplies, equipment, and related goods necessary for the Debtors’ regular

operations (collectively, the “Goods”) 2 and various services from vendors and independent

contractors that are unaffiliated with the Debtors and are, by and large, the sole source or limited

source for unique materials or services, or services needed for compliance with certain laws and

regulations, and provide material economic or operational advantages when compared to other

         2
          In many instances, the Debtors receive invoices from Vendors covering Goods and related services, such
as when a Vendor both sells a Good and installs it at one of the Debtors’ locations. To the extent that the Debtors in
good faith are unable to ascertain the portion of such invoices that is on account of Goods and the portion that is on
account of services, the Debtors hereby request authority to pay the full amount of such invoices.



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available vendors; without them, the Debtors could not operate (collectively, the “Critical

Vendors”). Many of these vendors hold a virtual monopoly over the goods and services they

provide. As discussed in further detail below, the Critical Vendors are so essential to the

Debtors’ businesses that the lack of any of their particular Goods or services, even for a short

duration, could significantly disrupt the Debtors’ operations and cause irreparable harm to the

Debtors’ businesses, goodwill, market share, and estates.

       9.      While the Debtors hope and expect to ensure a continuing post-petition supply of

goods and services by consensual negotiation with their vendors, the Debtors recognize that their

fiduciary duties require them to consider and plan for the vendors that may refuse to provide

future goods or services unless their prepetition claims are paid. Replacement vendors, even

where available, would likely result in substantially higher costs for the Debtors and severe

operational disruption. Moreover, replacement vendors may lack knowledge of the Debtors’

operations or fail to match the Debtors’ high performance standards, thereby placing the safety

of the Debtors’ employees and the reputation of the Debtors’ businesses and products at risk.

       10.     The Goods are generally shipped on an as-needed basis directly to the Debtors’

operations, all as directed by the Debtors. As a consequence of the commencement of the

Chapter 11 Cases, the Debtors believe that many of the Critical Vendors may be particularly

concerned that they will not be paid for the delivery or shipment of Goods after the Petition Date

if such delivery or shipment was based on a Prepetition Order, or that their claims arising from

the Prepetition Orders will be treated as general unsecured claims. Accordingly, the Critical

Vendors may refuse to provide Goods or services to the Debtors (or may recall shipments) unless

the Debtors obtain an order of the Court authorizing the Debtors, in their sole discretion, to

satisfy those obligations in the ordinary course of their businesses.




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       11.     If the Debtors can pay Critical Vendors their prepetition claims (such claims,

collectively, the “Critical Vendor Claims”), and thereby (a) maintain lower costs of Goods and

services purchased during the post-petition period, (b) ensure delivery of Goods ordered

prepetition but not yet delivered, (c) ensure the provision of critical services, and (d) avoid the

severe disruption and safety risks to their employees that might result from the cessation of such

essential Goods and services, it is prudent for the Debtors to do so. Failure to pay the Critical

Vendors, and the consequent discontinuity of the Goods and services rendered by such Critical

Vendors, may disrupt the Debtors’ businesses. This would cause significant and irreparable

harm to the Debtors and to the recoveries of all of the Debtors’ creditors that would far outweigh

the cost of payment of the Critical Vendor Claims.

       12.     The Debtors’ Critical Vendors include the following:

                      (a)     Milk Vendors. The Debtors purchase raw milk from a number of

       independent family dairy farms (“family farms”) and dairy farmers’ cooperatives

       (“farmers’ cooperatives” and, collectively with the family farms, the “Milk

       Vendors”). A more detailed explanation of the Debtors’ purchasing relationships with

       the Milk Vendors is provided in the Matson Declaration. See generally Matson

       Declaration ¶¶ 5–22. Because Dean Foods is the only purchaser of milk from the 600

       family farms, and the single largest purchaser for certain of the farmers’ cooperatives, id.

       ¶ 11, the Milk Vendors depend upon reliable income streams from the Debtors to pay

       their business (and personal) expenses, id. ¶¶ 17–18. Thus, if the Milk Vendors are not

       paid, they will be forced to quickly seek alternate buyers, which in turn will cause a

       cascading effect whereby other Milk Vendors also stop supplying Dean Foods in search

       of more reliable partners. See id. ¶¶ 11–12. Attempting to find replacement sources of




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raw milk would result in significant additional expenses, and such replacement sources

may very well not be available in the substantial volumes that the Debtors require. See

generally id. Even a modest disruption of the Debtors’ supply of milk would cause a

drop in the Debtors’ order fulfillment rate, resulting in Dean Foods’ customers—which

include Wal-Mart, Starbucks, and public and private schools, along with many others—

immediately shifting their orders to competing suppliers. See id. ¶ 13. Because it will

likely lead first to loss of Debtors’ milk supply, and then to loss of the Debtors’

customers, failing to pay the Milk Vendors will have a catastrophic effect on the Debtors’

business. See id. Thus, the benefits of paying the Milk Vendors substantially outweigh

any associated costs. As of the Petition Date, the Debtors estimate that they owe the Milk

Vendors approximately $272,000,000 on account of prepetition claims, of which the

Debtors believe that $110,000,000 is critical.

               (b)     Specialty Material Vendors. The Debtors also purchase from third

party vendors (collectively, the “Specialty Material Vendors”) various specialty

materials required for the operation of their dairy processing plants. These materials

include, among other things, cream, sugar, resin, packaging, and other ingredient

materials. Attempting to find replacement sources of these materials would result in

significant additional expenses, and such replacement sources may very well not be

available in the volumes required.        Thus, the benefits of paying these vendors

substantially outweigh any associated costs given the crucial roles that these materials

play in the ongoing viability of the Debtors’ businesses. As of the Petition Date, the

Debtors estimate that they owe the Specialty Material Vendors approximately

$115,000,000 on account of prepetition claims.




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               (c)    Safety and Regulatory Compliance Vendors. The Debtors employ

various skilled third party vendors (collectively, the “Safety and Regulatory

Compliance Vendors”) to ensure that the Debtors’ operations fully comply with the

foregoing safety and regulatory requirements, to provide the Debtors’ employees with a

safe work environment, and to ensure products meet all food safety and regulatory

standards for sale. Specifically, the Safety and Regulatory Compliance Vendors provide

services that include, among other things, emergency spill management, waste water

treatment and management, underground storage tank removal, environmental site

assessments, environmental remediation activities, and food safety regulatory

compliance. Failure to comply with such regulations could result in injuries, fines, and

potential interruption of operations. Accordingly, the benefits of paying the Safety and

Regulatory Compliance Vendors significantly outweigh any associated costs given the

critical roles that the Safety and Regulatory Compliance Vendors play in the safety of the

Debtors’ employees and the ongoing viability of the Debtors’ businesses. As of the

Petition Date, the Debtors estimate that they owe Safety and Regulatory Compliance

Vendors approximately $5,000,000 on account of prepetition claims.

               (d)    Service Providers. The Debtors employ various skilled third party

vendors (collectively, the “Service Providers”) to ensure that the Debtors’ operations run

as efficiently as possible. These services are vital to ensuring continuing operations of

plant and administrative operations utilized by the Debtors on a daily basis. The services

largely consist of non-executory temporary plant manufacturing labor and outsourced

information technology services and administrative support provided by internationally

based companies, including daily transaction coding and processing functions. As of the




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       Petition Date, the Debtors estimate that they owe Service Providers approximately

       $10,000,000 on account of prepetition claims.

                        (e)    Logistical Support Providers. The Debtors employ various skilled

       third party vendors (the “Logistical Support Providers”) to ensure that the Debtors’

       delivery fleet continues operations. These Logistical Support Providers services include,

       among other things, truck repair and maintenance providers, fuel providers, and third

       party providers of driver training and certification programs. The Debtors would not be

       able to maintain their fleet of delivery trucks without the services provided by these

       Logistical Service Providers. As of the Petition Date, the Debtors estimate that they owe

       Logistical Support Providers approximately $17,000,000 on account of prepetition

       claims.

        13.      The Debtors also believe that a significant portion of their outstanding accounts

payables as of the Petition Date, some of which relate to Critical Vendors, would be entitled to

administrative expense status under section 503(b)(9) of the Bankruptcy Code because such

claims are on account of goods received by the Debtors in the ordinary course of their businesses

during the 20-day period prior to the Petition Date (the “503(b)(9) Claims”). As of the Petition

Date, the Debtors estimate that approximately $189,200,000 of the $555,700,000 of total

outstanding accounts payables would be entitled to administrative expense status as 503(b)(9)

Claims. As they are administrative claims incurred in the ordinary course of the Debtors’

businesses, the Debtors believe that they are authorized to pay the 503(b)(9) Claims pursuant to

section 363(c)(1) of the Bankruptcy Code.

        14.      The Debtors estimate that the maximum amount needed to pay the prepetition

claims of Critical Vendors during the first 30 days of the Chapter 11 Cases is approximately




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$43,700,000 (the “Interim Period Critical Vendor Claims Cap”). Similarly, the Debtors

estimate that the maximum amount of claims that the Debtors believe would be entitled to

administrative expense status as 503(b)(9) Claims during the first 30 days of the Chapter 11

Cases, all of which relate to Milk Vendors, totals approximately $90,400,000.

            15.     Finally, the Debtors estimate that the amount needed to pay the prepetition claims

of Critical Vendors after the first 30 days of the Chapter 11 Cases is approximately $24,100,000.

The Debtors also estimate that the amount of claims entitled to administrative expense status as

503(b)(9) Claims after the first 30 days of the Chapter 11 Cases is approximately $98,800,000.3

            16.     A summary of the relief that the Debtors are seeking related to Critical Vendors

and valid 503(b)(9) claims, on both and interim and final basis, is as follows:

              Category                 Total AP             Critical Vendor   503(b)(9)
              Interim Milk                                  $    19,600,000 $  90,400,000
              Interim Trade A/P                                  24,100,000            -
                  Interim Relief                            $   43,700,000 $        90,400,000

              Final Trade A/P                                   24,100,000          98,800,000
              Grand Total           $ 555,700,000           $   67,800,000 $       189,200,000

              % of Total AP                                          12.2%               34.0%

            17.     The Debtors are not seeking to pay these amounts immediately or in one lump

sum. Rather, the Debtors intend to pay these amounts, in their sole discretion, as they become

due and payable in the ordinary course of business operations. The Debtors’ cash on hand, the

cash generated by the Debtors’ business, and the proceeds of the post-petition credit facilities

will provide ample liquidity for payment of the Critical Vendor Claims, the 503(b)(9) claims,



        3
           Neither the Interim Period Critical Vendor Claims Cap nor the amounts requested to be authorized
thereafter include any prepetition claims that the Debtors seek to pay pursuant to other orders requested to be
entered by this Court in the Chapter 11 Cases.



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and the ongoing obligations of its continued operations in the ordinary course during the

pendency of the Chapter 11 Cases.

                           Conditions to Payment of Critical Vendor Claims

         18.      The Debtors seek the authority to pay Critical Vendor Claims in the ordinary

course of business. The Debtors propose that they may, in their sole discretion, condition

payment of any such Critical Vendor Claims upon an agreement to continue to supply Goods or

services to the Debtors on such creditor’s “Customary Trade Terms”4 for the one-year period

prior to the Petition Date and on other such terms and conditions as are acceptable to the

Debtors. However, in certain circumstances, a Critical Vendor may refuse to provide Goods or

services to the Debtors on the creditor’s Customary Trade Terms even after payment of its claim.

To accommodate these circumstances, the Debtors seek approval to enter into other agreements,

in the Debtors’ sole discretion, with each such Critical Vendor on a case-by-case basis.

         19.      To ensure that Critical Vendors transact business with the Debtors on Customary

Trade Terms, the Debtors propose the following procedures, to be implemented in the Debtors’

sole discretion, as a condition to paying any Critical Vendors: (a) a letter or contract including

provisions substantially in the form of the letter attached hereto (the “Vendor Agreement”) be

delivered to, and executed by, the creditor along with a copy of the order granting the relief

sought herein and (b) payment of the creditor’s Critical Vendor Claim include a communication

of the following statement:




         4
          As used herein, “Customary Trade Terms” means, with respect to a Critical Vendor, (a) the normal and
customary trade terms, practices, and programs (including, but not limited to, credit limits, pricing, cash discounts,
timing of payments, allowances, rebates, coupon reconciliation, normal product mix and availability, and other
applicable terms and programs), that were most favorable to the Debtors and in effect between such creditor and the
Debtors in the one-year period prior to the Petition Date or (b) such other trade terms as agreed by the Debtors and
such creditor.



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       By accepting this payment, the payee agrees to the terms of the Order of the
       United States Bankruptcy Court for the Southern District of Texas, dated
       ________, 2019 in the jointly administered chapter 11 cases of Southern Foods
       Group, LLC, et al. (Case No. 19-36313), entitled “[Interim] [Final] Order
       Authorizing (i) Debtors To Pay Prepetition Critical Vendor Claims and 503(b)(9)
       Claims in the Ordinary Course of Business, (ii) Debtors to Return Goods, and
       (iii) Financial Institutions To Honor and Process Related Checks and Transfers”
       and submits to the jurisdiction of that Court for enforcement thereof.

       20.     As a further condition of receiving payment on a Critical Vendor Claim, the

Debtors also request authority to require, in their sole discretion, that a Critical Vendor agree to

take whatever action is necessary, at such Critical Vendor’s sole cost and expense, and waive

any right to assert a lien on account of the paid claim of such Critical Vendor.

       21.     The Debtors further propose that if a Critical Vendor accepts payment for a

Critical Vendor Claim and, thereafter, refuses to continue to supply Goods or services to the

Debtors on the Customary Trade Terms for the applicable period, or on such terms as were

individually agreed to between the Debtors and such creditor, then the Debtors may, in their sole

discretion, and without further order of the Court (a) declare that the payment of such Critical

Vendor Claim is a voidable post-petition transfer pursuant to section 549(a) of the Bankruptcy

Code that the Debtors may recover from such Critical Vendor in cash or in goods (including by

setoff against post-petition obligations), and (b) demand that the creditor immediately return

such payments in respect of its Critical Vendor Claim to the extent that the aggregate amount of

such payments exceeds the post-petition obligations then outstanding without giving effect to

alleged setoff rights, recoupment rights, adjustments, or offsets of any type whatsoever. Upon

recovery of such payment by the Debtors, such creditor’s Critical Vendor Claim shall be

reinstated in such an amount as to restore the Debtors and the applicable Critical Vendor to their

original positions, as if the agreement had never been entered into and the payment of the




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creditor’s Critical Vendor Claim had not been made. In sum, the Debtors will return the parties

to their positions immediately prior to the entry of the order approving the relief sought herein.

       22.     To the extent that an agreement relating to a Critical Vendor Claim is deemed an

executory contract within the meaning of section 365 of the Bankruptcy Code, the Debtors do

not, at this time, seek to assume such contract.        Accordingly, if the Court authorizes the

payments described above, such payments should not be deemed to constitute post-petition

assumption, reaffirmation, or adoption of the programs, policies, or agreements as executory

contracts pursuant to section 365 of the Bankruptcy Code, and the Debtors reserve all of their

rights under the Bankruptcy Code in connection therewith. In addition, nothing in this Motion

shall be an admission as to any lien or interest, including any possessory lien.

                                          Basis for Relief

                   Payment of Critical Vendor Claims Is Appropriate Under
                 Sections 363(b)(1), 363(c), and 105(a) of the Bankruptcy Code

       23.     Section 363(b)(1) of the Bankruptcy Code empowers the Court to allow a debtor

to “use, sell, or lease, other than in the ordinary course of business, property of the estate.”

11 U.S.C. § 363(b)(1). Debtors’ decisions to use, sell, or lease assets outside the ordinary course

of business must be based upon the sound business judgment of the debtor. See, e.g., Inst’l

Creditors of Cont’l Air Lines, Inc. v. Cont’l Air Lines, Inc. (In re Cont’l Air Lines, Inc.), 780

F.2d 1223, 1226 (5th Cir. 1986) (“[F]or the debtor-in-possession or trustee to satisfy its fiduciary

duty to the debtor, creditors and equity holders, there must be some articulated business

justification for using, selling, or leasing the property outside the ordinary course of business.”);

In re Crutcher Res. Corp., 72 B.R. 628, 631 (Bankr. N.D. Tex. 1987) (“A Bankruptcy Judge has

considerable discretion in approving a § 363(b) sale of property of the estate other than in the




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ordinary course of business, but the movant must articulate some business justification for the

sale . . . .”).

         24.      Courts emphasize that the business judgment rule is not an onerous standard and

that it “is flexible and encourages discretion.” In re ASARCO, L.L.C., 650 F.3d 593, 601 (5th

Cir. 2011). “Great judicial deference is given to the [debtor’s] exercise of business judgment.”

GBL Holding Co., Inc. v. Blackburn/Travis/Cole, Ltd. (In re State Park Bldg. Grp., Ltd.), 331

B.R. 251, 254 (N.D. Tex. 2005). As long as a transaction “appears to enhance a debtor’s estate,

court approval of a debtor in possession’s decision to [enter into the transaction] should only be

withheld if the debtor’s judgment is clearly erroneous, too speculative, or contrary to the

Bankruptcy Code.” Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1309 (5th Cir.

1985) (citation and internal quotation marks omitted).

         25.      Moreover, section 363(c) of the Bankruptcy Code authorizes a debtor in

possession operating its business pursuant to section 1108 of the Bankruptcy Code to “enter into

transactions . . . in the ordinary course of business without notice or a hearing, and may use

property of the estate in the ordinary course of business without notice or a hearing.”

11 U.S.C. § 363(c)(1). One purpose of section 363(c) of the Bankruptcy Code is to provide a

debtor with the flexibility to engage in the ordinary course transactions required to operate its

business without undue supervision by its creditors or the court. See, e.g., In re Roth Am., Inc.,

975 F.2d 949, 952 (3d Cir. 1992) (citations omitted) (“Section 363 is designed to strike [a]

balance, allowing a business to continue its daily operations without excessive court or creditor

oversight and protecting secured creditors and others from dissipation of the estate’s assets.”).

Included within the purview of section 363(c) of the Bankruptcy Code is a debtor’s ability to

continue “routine transactions” necessitated by a debtor’s business practices. See, e.g., Amdura




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Nat. Distrib. Co. v. Amdura Corp. (In re Amdura Corp.), 75 F.3d 1447, 1453 (10th Cir. 1996)

(citations omitted) (“A debtor in possession under Chapter 11 is generally authorized to continue

operating its business.”); In re Nellson Nutraceutical, Inc., 369 B.R. 787, 796 (Bankr. D. Del.

2007) (citations omitted) (noting that courts have shown a reluctance to interfere in a debtor’s

making of routine, day-to-day business decisions).

         26.   The Bankruptcy Code does not define “ordinary course of business.”                 In

determining whether a transaction qualifies as “ordinary course,” the courts use the “horizontal”

dimension test (i.e., “the way businesses operate within a given industry”) and the “vertical”

dimension test (i.e., whether the transaction is consistent with the reasonable “expectations of

creditors”). See Denton Cty. Elec. Coop., Inc. v. Eldorado Ranch, Ltd. (In re Denton Cty. Elec.

Coop., Inc.), 281 B.R. 876, 882 & n.12 (Bankr. N.D. Tex. 2002) (collecting cases). “In general,

under the vertical test, courts look at whether the transaction subjects a hypothetical creditor to a

different economic risk than existed when the creditor originally extended credit. Under the

horizontal test, in general courts look at whether the transaction was of the sort commonly

undertaken by companies in the industry. The primary focus is on the debtor’s pre-petition

business practices and conduct.” In re Patriot Place, Ltd., 486 B.R. 773, 793 (Bankr. W.D. Tex.

2013).

         27.   The Debtors submit that the relief requested in this Motion represents a sound

exercise of the Debtors’ business judgment, is within the Debtors’ ordinary course of business, is

necessary to avoid immediate and irreparable harm, and is justified under section 363 of the

Bankruptcy Code.      Indeed, the relief sought herein is amply justified by the need for the

continued receipt of the Goods and services that the Critical Vendors provide, including those

that will be received and accepted by the Debtors post-petition in the ordinary course of business.




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The relief will also help ensure a continuous supply of materials that underpin the Debtors’

operations. Delivery of the Goods and services by the Critical Vendors is crucial for orderly and

efficient operation of the Debtors’ businesses. Unless the Debtors have the authority to pay for

these essential Goods and services, their businesses will suffer immediate and irreparable harm.

The authorization sought in this Motion will not prejudice the Debtors’ ability to contest the

validity of any invoices.

       28.     In fact, numerous courts in this jurisdiction have granted relief similar to that

requested herein. See, e.g., In re Shale Support Global Holdings, LLC, No. 19-33884 (DRJ)

(Bankr. S.D. Tex. July 12, 2019); In re Bristow Group Inc., No. 19-32713 (DRJ) (Bankr. S.D.

Tex. June 27, 2019); In re Parker Drilling Co., No. 18-36958 (MI) (Bankr. S.D. Tex. Jan. 3,

2019); In re Westmoreland Coal Co., No. 18-35672 (DRJ) (Bankr. S.D. Tex. Nov. 15, 2018); In

re Gastar Expl., Inc., No. 18-36057 (MI) (Bankr. S.D. Tex. Nov. 2, 2018); In re EXCO Res.,

Inc., No. 18-30155 (MI) (Bankr. S.D. Tex. Jan. 18, 2018); In re Linn Energy, LLC, No. 16-60040

(DRJ) (Bankr. S.D. Tex. June 27, 2016). The Debtors submit that the circumstances described

herein warrant similar relief.

       29.     Finally, the Debtors submit that payment of the Critical Vendor Claims is

necessary and appropriate and is authorized under section 105(a) of the Bankruptcy Code

pursuant to what is referred to interchangeably as the “doctrine of necessity” or “necessity of

payment rule”. The doctrine of necessity functions in a chapter 11 case as a mechanism by

which the bankruptcy court can exercise its equitable power to allow payment of critical

prepetition claims not explicitly authorized by the Bankruptcy Code. See In re CoServ, L.L.C.,

273 B.R. 487, 497 (Bankr. N.D. Tex. 2002) (recognizing the “doctrine of necessity”); In re

Mirant Corp., 296 B.R. 427, 429 (Bankr. N.D. Tex. 2003) (same and citing In re CoServ); see




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also In re Lehigh & New Eng. Ry. Co., 657 F.2d 570, 581 (3d Cir. 1981) (holding that a court

may authorize payment of prepetition claims if such payment is essential to debtor’s continued

operation); In re Just for Feet, Inc., 242 B.R. 821, 824–25 (D. Del. 1999) (holding that section

105(a) of the Bankruptcy Code “provides a statutory basis for payment of pre-petition claims”

under the doctrine of necessity).

       30.     The Court’s power to utilize the “doctrine of necessity” in the Chapter 11 Cases

derives from the Court’s inherent equity powers and its statutory authority to “issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.” 11

U.S.C. § 105(a). “[T]he debtor-in-possession’s role as the equivalent of a trustee under §

1107(a) and its duty to protect the going-concern value of an operating business in a Chapter 11

provide[s] the ‘bridge that makes application to the Doctrine of Necessity ‘necessary or

appropriate to carry out the provisions of’ the Bankruptcy Code.’” In re CEI Roofing, Inc., 315

B.R. 50, 56 (Bankr. N.D. Tex. 2004) (citing In re CoServ, 273 B.R. at 497). Accordingly, the

Court has expansive equitable powers to fashion any order or decree that is in the interest of

preserving or protecting the value of the Debtors’ assets. See In re Young, 416 F. App’x 392,

398 (5th Cir. 2011) (recognizing that “[s]ection 105(a) of Title 11 permits the bankruptcy court

to exercise broad authority”); In re Nixon, 404 F. App’x 575, 578 (3d Cir. 2010) (citation

omitted) (“It is well settled that the court’s power under § 105(a) is broad.”); In re Combustion

Eng’g, Inc., 391 F.3d 190, 236 (3d Cir. 2004) (citation omitted) (noting that section 105 of the

Bankruptcy Code “has been construed to give a bankruptcy court ‘broad authority’ to provide

equitable relief appropriate to assure the orderly conduct of reorganization proceedings”); In re

Trevino, 599 B.R. 526, 542–43 (Bankr. S.D. Tex. 2019) (noting that the bankruptcy court has

“broad authority” under section 105(a) of the Bankruptcy Code); In re Padilla, 379 B.R. 643,




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667 (Bankr. S.D. Tex. 2007) (citations omitted) (“Section 105(a) gives bankruptcy courts broad

authority to take actions necessary and appropriate for administering and enforcing the

Bankruptcy Code and . . . ‘authorizes a bankruptcy court to fashion such orders as are necessary

to further the purposes of the substantive provisions of the Bankruptcy Code.’”); see also

Chinichian v. Campolongo (In re Chinichian), 784 F.2d 1440, 1443 (9th Cir. 1986) (citation

omitted) (“Section 105 sets out the power of the bankruptcy court to fashion orders as necessary

pursuant to the purposes of the Bankruptcy Code.”).

       31.     The United States Supreme Court first articulated the doctrine of necessity more

than a century ago, in Miltenberger v. Logansport Ry. Co., 106 U.S. 286 (1882), in affirming the

authorization by the lower court of the use of receivership funds to pay pre-receivership debts

owed to employees, vendors, and suppliers, among others, when such payments were necessary

to preserve the receivership property and the integrity of the business in receivership. See id. at

309. This doctrine has become an accepted component of modern bankruptcy jurisprudence, and

courts’ application of it largely adheres to the Supreme Court’s reasoning in Miltenberger. See,

e.g., In re Lehigh & New Eng. Ry., 657 F.2d at 581-82 (“[I]n order to justify payment under the

‘necessity of payment’ rule, a real and immediate threat must exist that failure to pay will place

the continued operation of the [debtor] in serious jeopardy.”); In re Equalnet Commc’ns Corp.,

258 B.R. 368, 369 (Bankr. S.D. Tex. 2000) (noting that “courts in this district” have applied this

doctrine “primarily out of common sense and the presence of a legal or factual inevitability of

payment”); In re Mirant, 296 B.R. at 429 (applying the rule where the “Debtors’ businesses

[would be] seriously damaged by the delay required to satisfy the court that a particular creditor

should be paid its prepetition claim outside of a confirmed plan”); In re Ionosphere Clubs, Inc.,

98 B.R. 145, 175 (Bankr. S.D.N.Y. 1989) (holding that the “ability of a Bankruptcy Court to




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authorize the payment of pre-petition debt when such payment is needed to facilitate the

rehabilitation of the debtor is not a novel concept”); In re Just for Feet, Inc., 242 B.R. at 826

(stating that where the debtor “cannot survive” absent payment of certain prepetition claims, the

doctrine of necessity should be invoked to permit payment).

       32.     The doctrine of necessity is frequently invoked early in a reorganization,

particularly in connection with those chapter 11 sections that relate to payment of prepetition

claims. For instance, the court in In re StructureLite Plastics Corp. indicated its accord with “the

principle that a bankruptcy court may exercise its equity powers under § 105(a) to authorize

payment of prepetition claims where such payment is necessary to ‘permit the greatest likelihood

of survival of the debtor and payment of creditors in full or at least proportionately.’” In re

StructureLite Plastics Corp., 86 B.R. 922, 931 (Bankr. S.D. Ohio 1988) (citations omitted). The

court stated that a “per se rule proscribing the payment of prepetition indebtedness may well be

too inflexible to permit the effectuation of the rehabilitative purposes of the Code.” Id. at 932.

Accordingly, pursuant to section 105(a) of the Bankruptcy Code, the Court is empowered to

grant the relief requested herein.

       33.     Based upon the foregoing, the Debtors submit that the relief requested herein is

essential, appropriate, and in the best interests of the Debtors’ estates and stakeholders. The

Debtors believe that payment of Critical Vendor Claims owed to Critical Vendors will be

necessary to preserve operations, dramatically reduce the financial burden on the Debtors’

estates, maintain goodwill and positive relationships with all Critical Vendors, and maximize the

value of the Debtors’ assets for the benefit of all stakeholders. The need for the flexibility to pay

such claims is particularly acute in the period immediately following the Petition Date. During

this period, the Debtors, their attorneys and financial advisors, and other professionals will be




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focusing on stabilizing operations in chapter 11. At the same time, while the Debtors are

distracted with stabilizing their businesses and strategic planning, Critical Vendors may attempt

to assert their considerable leverage and deny provision of Goods and services going forward,

suddenly and without notice, in an effort to cripple operations and coerce payment. Furthermore,

if the relief sought herein is not granted, Critical Vendors will have no incentive to continue to

supply Goods or services to the Debtors on Customary Trade Terms.

        34.     The Debtors strongly believe that the uninterrupted supply of Goods and services,

on Customary Trade Terms, and the continuing support of their customers are imperative to the

ongoing operations and viability of the Debtors. The continued availability of trade credit, in

amounts and on terms consistent with those the Debtors have worked hard to obtain over the

years, is clearly advantageous to the Debtors. It allows the Debtors to maintain and enhance

necessary liquidity and to focus on returning to profitability. The Debtors believe that preserving

working capital through the retention and reinstatement of their normally advantageous trade

credit terms will enable the Debtors to stabilize business operations at this critical time, to

maintain their competitiveness, and to maximize the value of their businesses for the benefit of

all interested parties. Conversely, any deterioration of trade credit, or disruption or cancellation

of deliveries of goods or provision of essential services, could spell disaster for the Debtors’

restructuring efforts.

        35.     After carefully vetting all Critical Vendors, the Debtors designed the Interim

Period Critical Vendor Claims Cap as an estimate of how much must be paid in the first 30 days

of the Chapter 11 Cases (excluding 503(b)(9) Claims) to such creditors to continue the supply of

critical Goods and services. The Debtors hope to pay significantly less than the requested

amount.




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                       The Debtors Are Authorized To Return Goods Under
                             Section 546(h) of the Bankruptcy Code

           36.   The Debtors also occasionally receive various Goods that may be defective, not

up to standards, or otherwise not suitable or necessary for their operations. In some cases, the

Debtors return such Goods to vendors (critical or otherwise). Notwithstanding the filing of the

Chapter 11 Cases and the distinction between prepetition and post-petition claims, the Debtors

request that they be authorized, in their sole discretion, to return Goods that were delivered after

the Petition Date based on Prepetition Orders for credit against such Prepetition Orders if the

Debtors determine that such Goods are of little or no value to the Debtors’ estates.

           37.   Section 546(h) of the Bankruptcy Code permits a debtor, with the consent of a

creditor and subject to the prior rights of holders of security interests in such goods or the

proceeds of such goods, to return goods shipped to the debtor by the creditor before the

commencement of the case for credit against the creditor’s prepetition claim, provided that the

Court determines (on a motion made no later than 120 days after the order for relief and after

notice and a hearing) that such return is in the best interests of the estate.

           38.   The Debtors submit that an order approving returns of Goods to vendors for credit

against their prepetition claims, subject to the prior rights of holders of security interests in such

Goods or the proceeds of such Goods, to the extent of such interests, is in the best interests of the

Debtors’ estates. Such relief will enable the Debtors to (a) obtain proper credit for otherwise

unusable Goods, cost-effectively and without undue financial risk and (b) effectively manage

inventory and enhance the Debtors’ financial performance and the value of the assets of their

estates.




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       39.     Through this Motion, the Debtors seek only the relief that is contemplated by

section 546(h) of the Bankruptcy Code. Accordingly, the Debtors should be permitted to return

Goods, in their discretion, as permitted by the Bankruptcy Code and as set forth herein.

                        Applicable Financial Institutions Should Be
              Authorized To Honor and Process Related Checks and Transfers

       40.     The Debtors also request that all applicable financial institutions be authorized to

(a) receive, process, honor, and pay all checks presented for payment of, and to honor all fund

transfer requests made by the Debtors related to, the claims that the Debtors request authority to

pay in this Motion, regardless of whether the checks were presented or fund transfer requests

were submitted before, on, or after the Petition Date and (b) rely on the Debtors’ designation of

any particular check as approved by the Proposed Orders.

                                Debtors’ Reservation of Rights

       41.     Nothing contained herein is intended or should be construed as, or deemed to

constitute, an agreement or admission as to the validity of any claim against the Debtors on any

grounds, a waiver or impairment of the Debtors’ rights to dispute any claim on any grounds, or

an assumption or rejection of any agreement, contract, or lease under section 365 of the

Bankruptcy Code. The Debtors expressly reserve their rights to contest any claims related to the

Critical Vendors under applicable bankruptcy and non-bankruptcy law. Likewise, if the Court

grants the relief sought herein, any payment made pursuant to the Court’s order is not intended,

and should not be construed, as an admission as to the validity of any claim or a waiver of the

Debtors’ rights to dispute such claim subsequently.

                                   Emergency Consideration

       42.     Pursuant to Local Rule 9013-1(i), the Debtors respectfully request emergency

consideration of this Motion under Bankruptcy Rule 6003(b). Bankruptcy Rule 6003 provides



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that, “[e]xcept to the extent that relief is necessary to avoid immediate and irreparable harm, the

court shall not, within 21 days after the filing of the petition, issue an order granting . . . (b) a

motion to use, sell, lease, or otherwise incur an obligation regarding property of the estate,

including a motion to pay all or part of a claim that arose before the filing of the petition . . . .”

Fed. R. Bankr. P. 6003. As set forth in this Motion, the Rahlfs Declaration, and the Matson

Declaration, the Debtors believe that an orderly transition into chapter 11 is critical to the

viability of their businesses, operations, and estate and that any delay in granting the emergency

relief requested herein could cause immediate and irreparable harm by damaging the Debtors’

ability to sustain their day-to-day operations and meet their various obligations, likely resulting

in the substantial loss of business. If the Debtors are not permitted to continue their ordinary

business operations by continuing to pay the Critical Vendor Claims as they come due, and to

reassure the Critical Vendors that authority has been granted to honor all such claims, the

Debtors could suffer immediate and irreparable harm. Accordingly, the relief requested herein is

consistent with Bankruptcy Rule 6003.

    Compliance with Bankruptcy Rule 6004(a) and Waiver of Bankruptcy Rule 6004(h)

       43.     To implement successfully the relief sought herein, the Debtors request that the

Court find that notice of the Motion is adequate under Bankruptcy Rule 6004(a) under the

circumstances. The Debtors also request that, to the extent applicable to the relief requested in

this Motion, the Court waive the stay imposed by Bankruptcy Rule 6004(h), which provides that

“[a]n order authorizing the use, sale, or lease of property other than cash collateral is stayed until

the expiration of 14 days after entry of the order, unless the court orders otherwise.” Fed. R.

Bankr. P. 6004(h). As described above, the relief that the Debtors seek in this Motion is

necessary for the Debtors to operate their businesses without interruption and to preserve value

for their estates. Accordingly, the Debtors respectfully submit that ample cause exists to justify


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the (a) finding that the notice requirements under Bankruptcy Rule 6004(a) have been satisfied

and (b) waiving of the 14-day stay imposed by Bankruptcy Rule 6004(h), as the exigent nature of

the relief sought herein justifies immediate relief.

                                               Notice

       44.     Notice of the Interim Hearing and the relief requested in the Motion has been

provided by telecopy, email, overnight courier, and/or hand delivery to (a) the United States

Trustee for the Southern District of Texas, (b) those creditors holding the 30 largest unsecured

claims against the Debtors’ estates (on a consolidated basis), (c) White & Case LLP, as counsel

to Coöperatieve Rabobank U.A., New York Branch, the administrative agent under the Debtors’

prepetition receivables purchase agreement, the administrative agent under the Debtors’

prepetition secured revolving credit facility, and the administrative agent under the Debtors’

proposed post-petition financing facility, (d) indenture trustee under the Debtors’ prepetition

unsecured bond indenture, (e) Mayer Brown LLP, as counsel to PNC Bank, National

Association, the co-agent under Debtors’ prepetition receivables purchase agreement, (f) Paul,

Weiss, Rifkind, Wharton & Garrison LLP, as counsel to an ad hoc group of prepetition

unsecured noteholders, (g) the Securities and Exchange Commission, (h) the Internal Revenue

Service, (i) the United States Attorney’s Office for the Southern District of Texas, (j) the state

attorneys general for states in which the Debtors conduct business, (k) all other parties asserting

a security interest in the assets of the Debtors to the extent reasonably known to the Debtors, and

(l) any party that has requested notice pursuant to Bankruptcy Rule 2002 (the “Notice

Parties”). A copy of this Motion and any order approving it will also be made available on the

Debtors’ case information website located at https://dm.epiq11.com/SouthernFoods. Under the

circumstances, such notice of the Interim Hearing and the relief requested in the Motion

constitutes due, sufficient, and appropriate notice and complies with section 102(1) of the


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Bankruptcy Code, Bankruptcy Rules 2002, 4001(b) and (c) and 9014, the Local Rules, and the

Complex Case Rules.

                                        No Prior Request

       45.     The Debtors have not previously sought the relief requested herein from the Court

or any other court.

       WHEREFORE, the Debtors respectfully request that the Court enter the Proposed

Orders, substantially in the forms attached to the Motion, granting the relief requested herein and

such other and further relief as the Court deems just and proper.




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Dated:    November 12, 2019
          Houston, Texas
                                        Respectfully submitted,
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                                        Proposed Counsel to the Debtors and Debtors in
                                        Possession




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                                    Certificate of Accuracy

       I certify that the facts and circumstances described in the above pleading giving rise to
the emergency request for relief are true and correct to the best of my knowledge, information,
and belief.

                                                       /s/ William R. Greendyke
                                                       William R. Greendyke
